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Case 23-14672-nmc

NVB IA-11-2BK (Rev. 2/17)

Name, Address, Telephone No., Bar Number & E-mail address
William B. Freeman, California Bar No. 137276

Katten Muchin Rosenman LLP, 515 S. Flower St. Suite 4150, Los Angeles CA 90071-2212
Telephone: 213.443.9003
bill. freeman@katten.com

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

OK KK ORK

In re:
S VALLEY VIEW TWAIN, LLC

BK-23-14672-NMC

CHAPTER 11

VERIFIED PETITION FOR
PERMISSION TO PRACTICE IN THIS
CASE ONLY BY ATTORNEY NOT
ADMITTED TO THE BAR OF THIS
COURT

Debtor.
EFFECTIVE JANUARY 1, 2015
FILING FEE IS $250.00

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William B. Freeman , Petitioner, respectfully represents to the Court:

1. That Petitioner resides in Los Angeles » California

2. That Petitioner is an attorney at law and a member of the law firm of

Katten Muchin Rosenman LLP , With offices at

515 South Flower Street

Suite 4150

Los Angeles _CA , 90071-2212

3. That Petitioner has been retained personally or as a member of the law firm by

Case 23-14672-nmc Doc 26 Entered 11/15/23 11:08:36 Page 2of5

TerraCotta REIT LLC to provide legal representation in connection

with the above-entitled case now pending before this Court.

4. That since 1988 , Petitioner has been and presently is a member in good
standing of the bar of the highest Court of the State of California where Petitioner

regularly practices law.

5. That Petitioner was admitted to practice before the following United States District Courts,
United States Circuit Court of Appeal, the Supreme Court of the United States and Courts of other

States on the dates indicated for each, and that Petitioner is presently a member in good standing of

said Courts. Date Admitted
Ninth Circuit Court of Appeals 1994
Central District of California 1988
Eastern District of California 2013
Northern District of California 2003
Southern District of California 1994

6. That there are or have been no disciplinary proceedings instituted against petitioner, nor any
suspension of any license, certificate or privilege to appear before any judicial, regulatory, or
administrative body, or any resignation or termination order to avoid disciplinary or disbarment
proceedings, except as described in detail below:

N/A

7. That Petitioner has never been denied admission to the State Bar of Nevada. (Give particulars

of any denied admission):
N/A

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Case 23-14672-nmc Doc 26 Entered 11/15/23 11:08:36 Page 3of5

8. That Petitioner is a member of good standing in the following Bar Associations:
American Bankruptcy Institute

Turnaround Management Association

9. Petitioner or any member of Petitioner’s firm (or office is firm has offices in more than one city)
with which Petitioner is associated has/have filed application(s) to appear as counsel under Local
Rule IA 11-2 during the past three (3) years in the following matters:

Date of Application Cause

N/A

Title of Court/Administrative Body or Arbitrator Was Application Granted or Denied

(dif
necessary, please attach a statement of additional applications)

10. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the State of

Nevada with respect to the law of this state governing the conduct of attorneys to the same extent
as a member of the State Bar of Nevada.

11. Petitioner agrees to comply with the standards of professional conduct required of the
members of the bar of this court.

12. Petitioner has disclosed in writing to the client that the applicant is not admitted to practice in
this jurisdiction and that the client has consented to such representation.

DATED: 11/1/2023 Iellor LZ LLA—

Petitioner’s Signature

Case 23-14672-nmc Doc 26 Entered 11/15/23 11:08:36 Page4of5

STATE OF California )
)
COUNTY OF Los Angeles _ )
William B. Freeman _, Petitioner, being first duly sworn, deposes and says:

That the foregoing statements are true. Lh.
h hr 2. Ae

Petitioner’s Signature

(SEAL)

Subscribed and sworn to me before this

day of >

Notary public

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Case 23-14672-nmc Doc 26 Entered 11/15/23 11:08:36 Page5of5

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California Jurat Certificate

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

State of California

County of Uentu~

Subscribed and sworn to (or affirmed) before me on this _ \o _ day of _ Woverber

20 23 ,by_ Willem GB. Freemen and

, proved to me on the basis of

satisfactory evidence to be the person(s) who appeared before me.

MATTHEW JAMES NEMETHY

yo med we Notary Public - California
QW Seyns- Ne “y ee DE Ventura County Z
Signature of Notary Public Cg Commission # 2457599
q of My Comm. Expires Aug 5, 2027 p
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OPTIONAL INFORMATION
Although the information in this section !s not required by law, it could prevent fraudulent removal and reattachment of
this jurat to an unauthorized document and may prove useful to persons relying on the attached document

Description of Attached Document eee

The certificate is attached to a document titled/for the purpose of Method of Affiant Identification

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Notary contact:

containing +! pages, anddated _\\/\°/#723 Other
[_] Affiant(s) Thumbprint(s) [_] Describe:

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